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                                        JOHN C. EASTMAN
               HENRY SALVATORI PROFESSOR OF LAW & COMMUNITY SERVICE AND FORMER DEAN
                                 CHAPMAN UNIVERSITY SCHOOL OF LAW

EDUCATION:              University of Chicago Law School                                             Chicago, IL
                        J.D., June 1995 (High Honors)
                        Honors:           Order of the Coif; Law Review, 1993-95
                                          Bradley Fellow in Constitutional History, 1993-95
                                          Olin Fellow in Law & Economics, 1994-95
                                          Victor McQuistion Scholarship Recipient, 1994-95
                                          Russell Baker Scholarship Recipient, 1993-94

                        Claremont Graduate School                                                 Claremont, CA
                        Ph.D., Government, 1993; M.A., Government, 1989
                        Major Fields of Concentration: Political Philosophy, American Government
                                                       Constitutional Law, International Relations
                        Dissertation:      On the Perpetuation of Our Institutions:
                                                   Thoughts on Public Education at the American
                                           Founding
                        Honors:            Bradley Fellow, 1991; Earhart Fellow, 1985
                                           Chapter President, Pi Sigma Alpha, 1987

                        University of Dallas                                                          Irving, TX
                        B.A., cum laude, Politics and Economics, 1982
                        Honors:            Omicron Epsilon (Economics Honor Society)
                                           Recipient, Texas Scholars Scholarship
PROFESSIONAL EXPERIENCE:

1999-present            Chapman University School of Law                                          Orange, CA
                        Henry Salvatori Professor of Law & Community Service (2006-2007; 2011-present)
                        Dean (2007-10) and Donald P. Kennedy Chair in Law (2007-2011)
                        Interim Associate Dean of Administration (2006-07)
                        Director (1999-2007); Chairman (2007-present), Center for Const’l Jurisprudence
                        Associate Professor (1999-2002); Professor (2002--present)

1997-99                 Kirkland & Ellis                                                        Los Angeles, CA
                        Associate
1996-97                 Honorable Clarence Thomas, Associate Justice                           Washington, D.C.
                        Supreme Court of the United States
                        Law Clerk
1995-96                 Honorable J. Michael Luttig, Judge                                           McLean, VA
                        U. S. Court of Appeals for the Fourth Circuit
                        Law Clerk
1993-94                 Kirkland & Ellis; O'Melveny & Myers                                    Washington, D.C.
                        Summer Associate                                                       Los Angeles, CA
1989-1991               Inland Group, Inc.                                                    Newport Beach, CA
                        Director of Real Estate Acquisitions
1987-1989               United States Commission on Civil Rights                               Washington, D.C.
                        Director, Congressional & Public Affairs
1985-1987               John Eastman & Associates                                                 Claremont, CA
                        Academic & Political Consultants
1984-1985               Public Research, Syndicated                                               Claremont, CA
                        Managing Editor, National op-ed. newspaper syndication service

1983-85; 1999-present   The Claremont Institute for the Study of                                  Claremont, CA
                        Statesmanship and Political Philosophy
                        Research Associate (1983-85); Senior Fellow (1999-present)

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APPELLATE & TRIAL LITIGATION EXPERIENCE

Supreme Court of the United States – Party Representations

National Institute of Family and Life Advocates, et al. v. Becerra, No. 16-1140 (S.Ct. 2017). Represented
NIFLA in First Amendment compelled speech challenge to California law mandating pro-life clinics to
post information about obtaining abortions.

True the Vote v. Lois Lerner, et al., No. 16-613 (S.Ct. 2017). Represented True the Vote in Bivens action
against individual IRS officials for unconstitutional processing of non-profit application. Cert. denied.

County of Maricopa v. Lopez-Valenzuala, No. 14-825 (S.Ct. 2015). Represented Maripoca County and
officials in seeking Supreme Court review of 9th Circuit decision invalidating Arizona’s state constitutional
amendment denying bail to illegal immigrants charged with serious felonies. Cert. denied.

Phil Berger, et al. v. Fisher-Borne, No. 14-823 (S.Ct. 2015). Represented North Carolina legislative leaders
as intervenor defendants in North Carolina marriage litigation. Cert. denied.

National Organization for Marriage, Inc. v. Geiger, No. (S.Ct. 2015). Represented National Organization
for Marriage in petition for emergency stay of decision denying intervention in Oregon marriage case, then
in petition for writ of certiorari. Application for Stay denied. Cert. denied.

Horne v. Isaacson, No. 13-402 (2013). Represented Arizona in cert petition defending Arizona’s 20-week
abortion restriction law. Cert. denied.

National Organization for Marriage, Inc. v. McKee, 133 S.Ct. 163 (2012). Represented National
Organization for Marriage in cert petition challenging Maine’s campaign finance disclosure requirements
for national organizations involved in Maine ballot campaign. Cert. denied.

Delacy v. California, No. 11-290 (2011). Representing private gun owner in cert petition challenging his
deprivation of right to keep and bear arms because of a prior misdemeanor conviction, as violation of 2 nd
Amendment. Cert. pending.

Szajer v. City of Los Angeles, No. 10-1343 (2011). Represented private firearms business owners in cert
petition challenging illegal search and seizure of their lawfully-owned firearms. Cert. Denied.

Reisch v. Sisney, No. 09-953 (2010). Represented State of South Dakota in its Spending Clause challenge
to federal regulations and spending dealing with state prisons. Cert. denied.

Sisney v. Reisch, No. 09-821 (2010). Represented State of South Dakota in opposition to prisoner cert
petition, raising state sovereign immunity in defense of claims under the federal Religious Land Use and
Institutionalized Persons Act. Cert. granted in parallel case out of Texas, and sovereign immunity position
won 5-4.

The Rector, Wardens and Vestrymen of Saint James Parish in Newport Beach, California v. The Protestant
Episcopal Church in the Diocese of Los Angeles, No. 08-1579 (2009). Representing local Anglican (former
Episcopal) Church in property dispute arising from its withdrawal from the American Episcopal Church,
raising First Amendment Free Exercise and Establishment Clause claims. Cert. denied at early procedural
posture; case still pending in lower state courts on remand.

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Town of Castle Rock, Colo. v. Gonzales, 125 S.Ct. 2796 (2005). Represented City against challenge that
police officers’ failure to protect against private violence committed by private individual under a
restraining order violated procedural Due Process Clause. Filed petition for writ of certiorari, which was
granted. Briefed and argued the merits. Oral argument on March 21, 2005, was first argument attended by
Chief Justice Rehnquist since his illness and surgery in November 2004. Case was decided on last day of
the Term—the last day of decisions rendered with Chief Justice Rehnquist on the bench. Won 7-2.

Angle v. Legislature of Nevada, 543 U.S. 1120 (2005). Represented group of Nevada legislators petitioning
for writ of certiorari to Ninth Circuit Court of Appeals in case challenging, on Due Process and Republican
Guaranty Clause grounds, the constitutionality of Nevada Supreme Court mandamus ordering legislature
to consider bill raising taxes by simple majority rather than two-thirds vote required by Nevada
Constitution. Cert. Denied.

Angle v. Guinn, 541 U.S. 957 (2004). Represented group of Nevada legislators petitioning for writ of
certiorari to Nevada Supreme Court in case challenging, on Due Process and Republican Guaranty Clause
grounds, the constitutionality of Nevada Supreme Court mandamus ordering legislature to consider bill
raising taxes by simple majority rather than two-thirds vote required by Nevada Constitution. Cert. Denied.

Rancho Viejo LLC v. Norton, 540 U.S. 1218 (2004). Represented landowner on writ of certiorari in
challenge to the constitutionality of endangered species act as applied to wholly intrastate arroyo toad. Cert.
Denied.

Kasler v. Lockyer, 531 U.S. 1149 (2001). Represented private citizen and Colt Manufacturing Co. in filing
petition for writ of certiorari seeking review in challenge to constitutionality of California ban on possession
of certain firearms, as violating 2nd Amendment. Cert. Denied.

U.S. Term Limits, Inc. v. Thornton, 514 U.S. 779 (1995). Part of 3-member team that represented Arkansas
Republican Party as a respondent supporting petitioners, defending constitutionality of Arkansas
constitutional amendment limiting terms of Arkansas’ representatives to Congress. Lost 5-4.


Supreme Court of the United States – Amicus Curiae Representations

Murr v. Wisconsin, No. 15-214 (2016). Representing CCJ as amicus curiae on the merits in property
owner’s regulatory taking challenge to state law that regulates adjoining parcels as though they were a
“parcel of the whole.” Oral argument set for Fall 2016.

Whole Woman’s Health v. Hellerstedt, No. 15-274 (2016). Represented CCJ, Missouri Baptist Convention,
Christian Life Commission, and Christian Legal Society as amici curiae on the merits in support of Texas’s
regulations of abortion clinics. Reversed (regulations struck down) 5-3.

Stormans v. Weismann, No. 15-862 (2016). Represented CCJ as amicus in support of cert petition in case
raising religious liberty challenge to state requirement that pharmacists provide abortifacient drugs in
violation of their religious beliefs. Cert denied, June 28, 2016.

Evenwell v. Abbott, No. 14-940 (2016). Represented CCJ as amicus in support of voter challenge to Texas’s
apportionment plan based on total population (including illegal immigrants) rather than citizen population.
8-0 for Texas.


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United States v. Texas, No. 15-674 (2016). Represented CCJ as amicus curiae in support of Texas’s
challenge to constitutionality of President Obama’s executive orders suspending deportation and providing
work authorization to millions of illegal immigrants. 4-4, lower court decision enjoining orders affirmed.

U.S. Army Corps of Engineers v. Hawkes, No. 15-290 (2016). Represented CCJ as amicus curiae in support
of property owner’s challenge to Corps determination that its property included wetlands that required a
federal permit to use. 8-0, holding that Corps jurisdictional determination was final agency action that
could be challenged.

Friedrichs v. California Teachers Association, No. 14-915 (2016). Represented CCJ as co-amici (along
with Constitutional Law Professors and the Judicial Education Project) in support of public school teacher’s
challenge to compulsory payment of agency fee to public employee union. 9th Circuit decision in favor of
union affirmed by equally divided 4-4 court.

Arrigoni Enterprises v. Town of Durham, No. 15-631 (2016). Represented CCJ as amicus in support of cert
petition seeking to overrule Williamson County case, which effectively bars property owners from bringing
their takings claims in federal court. Cert denied, April 25, 2016.

Zubik v. Burwell, No. 14-1418 (2016). Represented CCJ and Congressman Bart Stupak in 7 consolidated
“Little Sisters of the Poor” cases challenging the contraceptive mandate in HHS regulations ostensibly
implementing the Affordable Care Act’s “preventive care” requirement. Lower court decision upholding
the regulations reversed and remanded, 8-0 per curiam.

Sissel v. U.S. Health & Human Services, No. 15-543 (2016). Represented CCJ as amicus in support of cert
petition in case arguing that the Affordable Care Act was unconstitutional as a bill raising revenue that did
not originate in the House of Representatives, as the Constitution requires. Cert denied.

California Building Industry Ass’n v. San Jose, No. 15-330 (2016). Represented CCJ as amicus in support
of cert petition in case challenging San Jose ordinance requiring developers to sell 15% of their new homes
at less than fair market value. Cert denied, Feb. 29, 2016.

Fisher v. University of Texas at Austin, No. 14-981 (2016). Represented California Association of Scholars
in amicus curiae brief on the merits in support of challenge to Texas’s race-based admissions policy. 4-3
decision in favor of Texas.

Fisher v. University of Texas at Austin, No. 14-981 (2016). Represented the Asian American Legal
Foundation and the Asian American Coalition for Education (on behalf of 117 affiliated Asian American
organizations) in amicus curiae brief on the merits in support of challenge to Texas’s race-based admissions
policy. 4-3 decision in favor of Texas.

Center for Competitive Politics v. Harris, No. 15-152 (2015). Represented CCJ as amicus in support of
cert petition in case challenging legality of California Attorney General Kamala Harris’s demand that all
nonprofit organizations that solicit tax-deductible contributions within the state submit an un-redacted copy
of their IRS Form 990 Schedule B donor lists to continue legally soliciting donations. Cert. denied, Nov. 9,
2015.

Fisher v. University of Texas at Austin, No. 14-981 (2015). Represented CCJ as amicus in support of
petition for writ of certiorari in case challenging Texas’s race-based admissions policy. Cert. granted.


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U.S. Dep’t of Trans. v. Ass’n of American Railroads. Challenge to delegation of rulemaking power to
Amtrak.

Kent Recycling Services, LLC v. United States Army Corps of Engineers, No. 14-493. Amicus brief in
support of cert in challenge to administrative rule expanding wetlands jurisdiction.

Arizona v. The Inter Tribal Council of Arizona, Inc., No. 12-71 (2015). Amicus brief in support of State,
defending proof of citizenship requirement for voting against claim that federal motor voter law and federal
uniform voter registration form preempted state law, despite Constitution’s election clause assigning such
rules to states. 7-2, Court held that Arizona had to request modification to federal form before it could
impose the requirement.

Kobach v. U.S. Election Assistance Commission, No. 14-1164 (2015). Amicus brief in support of Election
Clause challenge to refusal of U.S. to include proof of citizenship on federal voter registration form, as
required by state law. Cert denied.

Dariano v. Morgan Hill Unified Sch. Dist., No. 14-720. In collaboration with CCJ cooperating attorney
Seth Cooper, represented Center for Constitutional Jurisprudence in support of certiorari in case challenging
school district’s ban on wearing American flag T-shirts. Cert. denied.

Hickenlooper v. Kerr, No. 14-460. In collaboration with CCJ cooperating attorneys Anthony Bruno and
Grant Cohen (Latham), represented Center for Constitutional Jurisprudence in support of certiorari,
defending the right of the people of Colorado to impose limits on the power given to the state legislature to
impose taxes. Cert. granted, vacated, and remanded.

Kentner v. City of Sanibel, Florida, No. 14-404. Represented Center for Constitutional Jurisprudence in
support of certiorari in case challenging a decision of the Eleventh Circuit that property rights are not
fundamental.

Herbert v. Kitchen, No. 14-124, and Smith v. Bishop, No. 14-136. Represented Center for Constitutional
Jurisprudence in support of petitions for certiorari filed by Utah and Kansas in defense of their state
marriage laws. Petitions were denied.

Perez v. Mortgage Bankers Ass’n, Nos. 13-1041 and 13-1052. Represented Center for Constitutional
Jurisprudence in challenge to the constitutionality of unelected executive agencies changing the meaning
of binding regulations by mere reinterpretation, as a violation of core separation of powers principles.

Zivotofsky v. Kerry, No. 13-628. Join a constitutional law professors brief as amicus curiae in support of
petitioner trying to vindicate his right under a federal statute to have Israel listed as his place of birth on his
passport (he was born in Jerusalem, and Obama administration is not recognizing that as “Israel”).

Burwell v. Hobby Lobby Stores, No. 13-354; Conestoga Wood Specialties Corp. v. Burwell, No. 13-356
(2014). Represented Center for Constitutional Jurisprudence and St. Thomas More Society of Orange
County in support of companies challenging Obamacare regulation mandating provision of contraceptive
and abortifacient insurance coverage as violation of Free Exercise and Religious Freedom Restoration Act.
Won 5-4.

Harris v. Quinn, 134 S.Ct. 2618 (2014). Represented Center for Constitutional Jurisprudence and Pacific
Legal Foundation (in support of cert.), plus Atlantic Legal Foundation (on merits), in support of petitioners,

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in-home care workers, in constitutional challenge to Illinois’ imposition of mandatory union dues. Won 5-
4.

McCullen v. Coakley, No. 12-1168 (2014). Represented Center for Constitutional Jurisprudence in support
of petitioner’s First Amendment Freedom of Speech challenge to Massachusetts ban on speech by anti-
abortion counselors outside abortion clinics. Won 9-0.

National Labor Relations Board v. Noel Canning, No. 12-1281 (2014). Participated as amicus curiae legal
scholar in support of Respondent challenging unconstitutionality of President’s appointments to NLRB as
violation of recess appointments clause. Won 9-0.

Schuette v. Coalition to Defend Affirmative Action, No. 12-682 (2014). Represented Center for
Constitutional Jurisprudence, California Association of Scholars, Reason Foundation, and Individual
Rights Foundation in support of Petitioner, defending against challenge to Michigan’s constitutional
initiative banning race- and gender-based affirmative action. Won 6-2.

United Here Local 355 v. Mulhall, 134 S. Ct. 594 (2014). Represented Center for Constitutional
Jurisprudence in support of respondents employees in action addressing legality of financial support union
gave to gaming initiative supported by casino in exchange for casino’s support in union’s unionizing efforts.
Dismissed as Improvidently Granted.

Chamber of Commerce v. Environmental Protection Agency, No. 12-1272 (2014). Represented Center for
Constitutional Jurisprudence in support of Petitioner’s challenge to EPA regulations that went beyond
statutory authority and imposed massive new costs on emitters of carbon dioxide. Won 9-0.

Town of Greece, New York v. Galloway, 134 S. Ct. 1811 (2014). Represented Center for Constitutional
Jurisprudence in support of town seeking to defend against claim that its practice of invocations before city
council meetings violated the First Amendment’s Establishment Clause. Won 5-4.

Susan B. Anthony List v. Driehaus, No. 13–193 (2014). Represented Center for Constitutional
Jurisprudence in support of petitioner’s claim that Ohio’s “false campaign speech” law violated First
Amendment, and that the group had standing to bring a pre-enforcement challenge to the law. Won 9-0 on
standing issue.

Bond v. United States, 134 S. Ct. 2077 (2014). Represented Center for Constitutional Jurisprudence, Cato
Institute, and Atlantic Legal Foundation at both cert stage and on the merits in support of Petitioner’s
structural constitutional challenge that the federal statute implementing the treaty against chemical weapons
exceeded Congress’s enumerated powers by reaching ordinary state crime assaults. Cert. GRANTED.
Won 9-0 on statutory grounds; 3 Justices wrote separately to contend (without objection form the other
Justices) that the Treaty Power could not be used to expand the enumerated powers of Congress.

Elmbrook Sch. District v. Doe, No. 12-755 (2014). Represented Center for Constitutional Jurisprudence in
support of School District’s cert petition seeking review of ruling that holding school graduation ceremony
in a church facility—the only air conditioned facility in the city large enough—was a violation of the
Establishment Clause. Cert. denied (dissent from denial by Justices Scalia and Thomas).

Drake v. Jerejian, No. 13-827 (2014). Represented Center for Constitutional Jurisprudence in support of
cert petition in case challenging New Jersey law prohibiting carrying of firearms outside the home except
for those given a permit based on extraordinary need. Cert. denied.

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Harmon v. Kimmel, No. 11-496 (2014). Represented Atlantic Legal Foundation and Center for
Constitutional Jurisprudence in support of cert petition challenging New York’s law capping rents and
prohibiting termination of rental property as an unconstitutional taking in violation of the Fifth Amendment.
Cert denied.

Montana Shooting Sports Association v. Holder, No. 13-634 (2014). Represented Center for Constitutional
Jurisprudence in support of petition for certiorari in challenge to federal regulations of firearms constructed
and used solely in Montana and not articles of interstate commerce. Cert Denied.

Autocam Corp. v. Sebelius, No. 13-482 (2014). Represented Center for Constitutional Jurisprudence in
support of petitioners’s petition for certiorari in challenge to Obamacare regulation mandating provision of
contraceptive and abortifacient insurance coverage as violation of Free Exercise and Religious Freedom
Restoration Act. Won, Cert. granted, decision vacated and remanded for further consideration in light of
Hobby Lobby.

Peri & Sons Farms v. Rivera, No. 13-950 (2014). Represented Center for Constitutional Jurisprudence,
Cato Institute, and National Federation of Independent Business Small Business Legal Center in support of
Petitioner’s administrative law challenge to interpretation of Fair Labor Standards Act that requires
employers to reimburse employee’s pre-employment travel and immigration expenses, and urging the Court
to revisit its doctrine of deference to administrative agencies. Cert denied.

Wollard v. Gallagher, No. 13-42 (2013). Represented Center for Constitutional Jurisprudence in support
of cert petition in case challenging Maryland law prohibiting carrying of firearms outside the home except
for those given a permit based on extraordinary need. Cert. denied.

United States v. Windsor, 570 U.S. 12 (2013). Represented Center for Constitutional Jurisprudence in
support of Respondent Bipartisan Legal Advisory Group’s defense of the constitutionality of Section 3 of
the federal Defense of Marriage Act. Won on the jurisdictional question; lost 5-4 on the merits.

Hollingsworth v. Perry, 133 S. Ct. 2652 (2013). Represented Center for Constitutional Jurisprudence in
support of Petitioners defending constitutionality of California’s Proposition 8 definition of marriage as
between one man and one woman. Lost 5-4 on standing grounds.

Fisher v. University of Texas at Austin, 133 S. Ct. 2411 (2013). Represented California Association of
Scholars, Connecticut Association of Scholars, Center for Constitutional Jurisprudence, Reason
Foundation, Individual Rights Foundation, and American Civil Rights Foundation in Support of Petitioner’s
challenge to UT’s race-based affirmative action program. Won 7-1; remanded for reconsideration under
strict scrutiny.

Arizona v. Intertribal Council of Arizona, Inc., 133 S.Ct. 2247 (2013). Represented Center for
Constitutional Jurisprudence in support of Arizona’s voter registration requirement of proof of citizenship.
Lost 7-2 in holding that federal law requiring use of federal registration form without state additions
preempted the state law, but won on holding that Arizona can require federal government to add proof of
citizenship requirement to forms used in Arizona.

American Trucking Associations, Inc. v. City of Los Angeles, 133 S.Ct. 2096 (2013). Represented Center
for Constitutional Jurisprudence and Harbor Trucking Association in support of petitioner’s challenge to
Port of L.A. regulations of independent trucking companies transporting cargo from the port. The Court
held that the L.A. Port regulations were preempted by federal law. Won 9-0.

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Horne v. Department of Agriculture, 133 S. Ct. 2053 (2013). Represented Cato Institute, National
Federation of Independent Business, Center for Constitutional Jurisprudence, and Reason Foundation in
Support of Petitioners’ claim that forced payments to government could give rise to a takings claim. Won
9-0.

Koontz v. St. Johns River Water Management District, 133 S. Ct. 2586 (2013). Represented Atlantic Legal
Foundation, Center for Constitutional Jurisprudence and Reason Foundation in Support of Petitioner’s
claim that conditions on a permit that would constitute a regulatory taking under Nollan and Dolan can also
give rise to a Takings claim, even when the permit was denied. Won 5-4.

Shelby County, Alabama v. Holder, 133 S. Ct. 2612 (2013). Represented Center for Constitutional
Jurisprudence in support of Petitioner’s claim that Section 5 of the 1965 Voting Rights Act, which required
preclearance of voting changes by covered jurisdictions, was unconstitutional, at least to the extent it relied
on decades-old voting data for determining applicability to particular jurisdictions. Won 5-4.

Kachalsky v. Cacase, No. 12-845 (2013). Represented Center for Constitutional Jurisprudence in support
of cert petition in case challenging New York law prohibiting carrying of firearms outside the home. Cert.
denied.

Arkansas Game and Fish Commission v. United States, 133 S. Ct. 511 (2012). Represented National
Federation of Independent Business Small Business Legal Center, the National Association of Home
Builders, American Farm Bureau Federation, American Forest Resource Council, and the Center for
Constitutional Jurisprudence in Support of Petitioner’s Takings Clause challenge to an annual temporary
flooding of Petitioner’s property by the U.S. Won 8-0.

U.S. Department of Health and Human Services v. Florida; National Federation of Independent Business
v. Sebelius, 132 S. Ct. 2566 (2012); National Federation of Independent Business v. Sebelius, (2012).
Represented Center for Constitutional Jurisprudence, Judicial Education Project, Reason Foundation, the
Individual Rights Foundation, the Heritage Foundation, Ending Spending, inc., and Former Senators
George Lemieux and Hank Brown in Support of Respondents’ claim that the Minimum Coverage Provision
of Obamacare exceeded Congress’s powers under the Commerce Clause and was therefore
unconstitutional. Won 5-4 on Commerce Clause issue; Lost 5-4 when Chief Justice Roberts interpreted
Obamacare’s individual mandate as a tax and held it was a permissible exercise of Congress’s taxing power.

Florida v. U.S. Department of Health and Human Services, 132 S.Ct. 2566 (2012). Represented Center for
Constitutional Jurisprudence, Pacific Legal Foundation, Cato Institute, Congressman Denny Rehberg and
Dr. Jeff Colyer in Support of Petitioners’ challenging that the Medicaid expansion requirements of
Obamacare were unduly coercive and therefore an unconstitutional exercise of the Spending power. Won
7-2.

River Center LLC v. Dormitory Authority of State of New York, 132 S.Ct. 2102 (2012). Represented Center
for Constitutional Jurisprudence as amicus curiae in support of cert. petition in Takings Clause challenge
to New York’s refusal to award in eminent domain proceeding just compensation based on value of
development rights that state had refused to grant in order to minimize the cost of the taking. Motion for
leave to file granted; cert. denied.

Sackett v. Environmental Protection Agency, 132 S.Ct. 1367 (2012). Represented the Center for
Constitutional Jurisprudence and National Federation of Independent Business Small Business Legal
Center as amici curiae in support of petitioners’ challenge to EPA’s claim that its environmental orders
affecting private property rights are not subject to judicial review. Won 9-0.
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Christopher v. Smithkline Beecham Corp., 132 S. Ct. 2156 (2012). Represented the Center for
Constitutional Jurisprudence in support of Respondent’s claim that extension of overtime pay regulations
to independent pharmaceutical agents exceeded the agency’s regulatory/interpretative authority, and urging
that the Court overrule prior administrative law precedent that requires deference to an agencies changed
interpretation of its own regulations. Won 5-4.

First American Financial Corp. v. Edwards, 132 S. Ct. 2536 (2012). Represented Pacific Legal Foundation
and the Center for Constitutional Jurisprudence in Support of Petitioner’s claim that provisions of federal
lending law violated the Constitution’s Take Care clause by purporting to confer standing on private citizens
who themselves suffered no injury to pursue claims against private lenders for alleged violations of the
lending law. Dismissed as improvidently granted.

Kitsap Alliance of Property Owners v. Central Puget Sound Growth Management Hearings Board, No. 11-
457 (2012). Represented Center for Constitutional Jurisprudence in support of cert petition in case
challenging Washington law that required unrelated exactions as a condition for obtaining a building permit,
as a violation of the Takings Clause and urging the Court to reconsider its erroneous decision in Penn
Central. Cert denied.

Arizona v. United States (2011). Representing the Center for Constitutional Jurisprudence, the Reason
Foundation, and several members of Congress as amici curiae in support of Arizona’s cert petition in the
U.S. Government’s challenge to Arizona’s immigration law, SB1070. Cert petition pending.

Sackett v. Environmental Protection Agency, No. 10-1062 (2011). Representing the Center for
Constitutional Jurisprudence and National Federation of Independent Business Small Business Legal
Center as amici curiae in support of petitioners’ challenge to EPA’s claim that its environmental orders
affecting private property rights are not subject to judicial review. Pending.

Stewart & Jasper Orchards v. Salazar, 10-1551 (2011). Representing the Center for Constitutional
Jurisprudence and the Cato Institute as amici curiae in support of petitioners’ commerce clause challenge
to endangered species act regulations dealing with the Delta smelt, a non-commercial species existing only
in California. Cert. pending.

Knox v. Service Employees Internat’l Union, Local 1000 (2011). Jointly representing the Center for
Constitutional Jurisprudence, Pacific Legal Foundation, and Mountain States Legal Foundation as amici
curiae in support of petitioners’ challenge to mandatory collection of union dues for partisan political
purposes. Pending.

American Electric Power v. Connecticut, 131 S.Ct. 2527 (2011). Represented the Center for Constitutional
Jurisprudence as amicus curiae in support of petitioner’s contention that there was not a federal common
law cause of action to support state’s “global warming” suit against electric producers. Won 8-0.

Scheffer v. Civil Service Employees Ass’n, Local 828, No. 10-719, 131 S.Ct. 1480 (2011). Represented the
Center for Constitutional Jurisprudence, Atlantic Legal Foundation and Mackinac Center for Public Policy
as amici curiae in support of petition challenging lower court order depriving individual union members of
their right to counsel in case challenging constitutionality of compulsory union dues, when the counsel
chosen was a public interest law firm devoted to right-to-work positions frequently at odds with unions.
Cert. denied.


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Siefert v. Alexander, No. 10-405, 131 S.Ct. 2872 (2011). Represented the Center for Constitutional
Jurisprudence as amicus curiae in support of petition challenging state judicial campaign finance
restrictions. Motion for leave to file GRANTED. Cert. petition denied.

Arizona Christian School Tuition Organization v. Winn, 131 S.Ct. 1436 (2011). Represented the Center
for Constitutional Jurisprudence as amicus curiae in support of petitioner’s defense of Arizona’s tuition tax
credit for donations to religiously-affiliated private schools. Won 5-4 (on grounds that the plaintiffs
challenging the statute had no legal standing).

Guggenheim v. City of Goleta, CA, No. 10-1125 (2011). Represented the Center for Constitutional
Jurisprudence and the Reason Foundation as amici curiae in support of petition for certiorari challenging
constitutionality of mobile home park rent control ordinance. Cert. denied.

Bond v. United States, 131 S.Ct. 2355 (2011). Represented the Center for Constitutional Jurisprudence and
the Cato Institute as amici curiae in support of petitioner’s claim that she had legal standing to challenge to
the constitutionality of the federal statute implementing the international chemical weapons ban treaty,
under which she was convicted for simple assault involving only U.S. citizens in the U.S. Won 9-0.

F.C.C. v. Fox Television Network, Inc., et. al, 129 S.Ct. 1800 (2009). Represented the Center for
Constitutional Jurisprudence as amicus curiae in support of the F.C.C.’s regulations enforcing a statutory
ban on the broadcast of “fleeting expletives” over the public airwaves. Won 5-4.

Baylor v. United States, 128 S.Ct. 2982 (2008). Represented the Center for Constitutional Jurisprudence,
the Cato Institute, and the Goldwater Institute as amici curiae in support of petition for writ of certiorari
challenging the constitutionality of using the Hobbs Act as the basis for federal prosecution of local crime
with a de mimimus impact on interstate commerce. Cert. denied.

Gonzales v. Carhart (2007). Represented Professor Hadley Arkes and the Center for Constitutional
Jurisprudence as amici curiae in defense of the federal Partial Birth Abortion Ban Act of 2003, of which
Professor Arkes was a contributing author. Won 5-4.

Rapanos v. United States; Carabell v. U.S. Army Corps of Engineers (2006). Represented The Claremont
Institute Center for Constitutional Jurisprudence as amicus curiae in challenge to constitutionality of federal
regulation of wetlands more than 20 miles from any navigable waterways, as exceeding scope of Congress’s
Commerce Clause power. Won 5-4..

Rumsfeld v. Forum for Academic and Institutional Rights, 126 S.Ct. 1297 (2006). Represented The
Claremont Institute Center for Constitutional Jurisprudence as amicus curiae in support of the
constitutionality of the Solomon Amendment. Won 8-0.

GDF Realty Investments, Ltd. v. Norton, 125 S.Ct. 2898 (2005). Represented The Claremont Institute
Center for Constitutional Jurisprudence as amicus curiae in support of petition for writ of certiorari in case
challenging constitutionality of federal endangered species act as applied to wholly intrastate, non-
commercial Texas cave bugs. Cert. Denied.

Van Orden v. Perry, 125 S.Ct. 2854 (2005). Represented The Claremont Institute Center for Constitutional
Jurisprudence as amicus curiae defending the constitutionality of Ten Commandments display on public
grounds between state capital and state supreme court. Won 5-4.


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Kelo v. City of New London, Conn., 125 S.Ct. 2655 (2005) Represented The Claremont Institute Center for
Constitutional Jurisprudence as amicus curiae challenging constitutionality of New London’s use of
eminent domain to take private property for private economic development. Lost 5-4.

Cutter v. Wilkinson, 544 U.S. 709 (2005). Represented The Claremont Institute Center for Constitutional
Jurisprudence as amicus curiae in defending constitutionality of RLUIPA under Establishment Clause
(though questioning its validity under the Spending Clause). Won 9-0.

Hamdi v. Rumsfeld, 542 U.S. 507 (2004). Represented The Claremont Institute Center for Constitutional
Jurisprudence as amicus curiae defending constitutionality of President’s detention of enemy combatants
who are U.S. citizens. Largely won, fractured decision.

Rasul v. Bush, 542 U.S. 466 (2004). Participated as amicus curiae, with group of law professors, in support
of President’s authority to detain enemy combatants in Guatanamo Bay, Cuba. Lost 6-3.

Elk Grove Unified School Dist. v. Newdow, 542 U.S. 1 (2004). Represented The Claremont Institute Center
for Constitutional Jurisprudence as amicus curiae in support of constitutionality of the Pledge of Allegiance,
against an Establishment Clause challenge. Case dismissed for lack of standing.

Grutter v. Bollinger, 539 U.S. 982 (2003); Gratz v. Bollinger, 539 U.S. 244 (2003). Represented The
Claremont Institute Center for Constitutional Jurisprudence as amicus curiae in challenge to
constitutionality of Michigan affirmative action in admissions programs. Won 5-4 in Gratz, invalidating
undergraduate system; lost 5-4 in Grutter, upholding law school’s system.

Zelman v. Simmons-Harris, 536 U.S. 639 (2002). Represented The Claremont Institute Center for
Constitutional Jurisprudence as amicus curiae in support of constitutionality of Ohio’s program including
private religious schools in its school voucher program against an Establishment Clause challenge. Won
5-4, with an important concurring opinion by Justice Thomas urging the Court to revisit the incorporation
of the Establishment Clause, as argued in our brief.

Schaffer v. O'Neill, 534 U.S. 992 (2001). Represented The Claremont Institute Center for Constitutional
Jurisprudence as amicus curiae in support of petition for writ of certiorari, challenging the constitutionality
of congressional pay raise in violation of 27th Amendment. Cert. Denied.

Adarand Constructors v. Mineta, 534 U.S. 103 (2001) Represented The Claremont Institute Center for
Constitutional Jurisprudence as amicus curiae in challenge to constitutionality of federal racial preferences
in contracting. Cert. Dismissed as improvidently granted.

Solid Waste Agency of Northern Cook County, Ill. v. U.S. Army Corps of Engineers, 531 U.S. 159 (2001).
Represented The Claremont Institute Center for Constitutional Jurisprudence as amicus curiae in challenge
to constitutionality of federal “migratory bird rule” basis for regulating wholly intrastate, isolated waters as
exceeding Congress’s power under the Commerce Clause. Won 5-4.

California Democratic Party, et al. v. Jones, 530 U.S. 567 (2000). Represented The Claremont Institute
Center for Constitutional Jurisprudence as amicus curiae in challenge to constitutionality of California open
primary law.. Won 7-2.

Boy Scouts of America v. Dale, 530 U.S. 640 (2000). Represented The Claremont Institute Center for
Constitutional Jurisprudence as amicus curiae in support of Boy Scouts’ First Amendment right of freedom

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of expressive association, against contention that Boy Scouts’ membership policies violated New Jersey
public accommodations law prohibition on sexual orientation discrimination. Won 5-4.

United States v. Morrison, 529 U.S. 598 (2000). Represented The Claremont Institute Center for
Constitutional Jurisprudence as amicus curiae in challenge to constitutionality of federal Violence Against
Women Act as exceeding Congress’s power under the Commerce Clause. Won 5-4.

United States Courts of Appeals

Washington Alliance of Tech Workers v. U.S. Dept. of Homeland Security, No. 15-5239 (D.C. Cir. pending).
Representing CCJ as amicus supporting employees challenging administration’s unilateral expansion of
STEM Visa program beyond what was authorized by statute.

Hickenlooper v. Kerr (10th Cir. 2015, pending). In collaboration with CCJ cooperating attorneys Anthony
Bruno and Grant Cohen (Latham), represented Center for Constitutional Jurisprudence on remand in
support of taxpayers seeking to defend tax limitation initiative against legislators Republican Guaranty
challenge.

Susan B. Anthony List v. Driehaus (6th Cir. 2015, pending). Amicus brief in support of First Amendment
challenge to Ohio law prohibiting allegedly false campaign speech.

National Organization for Marriage v. Geiger, et al. (9th Cir., 2014). Represented National Organization
for Marriage in appeal of district court decision denying intervention. Lower court ruling affirmed. Cert.
denied.

Sevcik v. Sandoval (9th Cir. 2014). Represented Center for Constitutional Jurisprudence and 27
Scholars of Federalism and Judicial Restraint as amici curiae in support of Defendants-Appellees’ defense
of constitutionality of Nevada’s marriage laws. Lost.

Latta v. Otter (9th Cir. 2014). Represented Center for Constitutional Jurisprudence and 27
Scholars of Federalism and Judicial Restraint as amici curiae in support of Defendant-Appellant’s defense
of constitutionality of Idaho’s marriage laws. Lost.

Bostic v. Schaefer (4th Cir. 2014). Represented Virginia Catholic Conference and Center for Constitutional
Jurisprudence as amici curiae in support of Virginia’s marriage laws. Lost.

Kitchen v. Herbert (10th Cir. 2014). Represented Center for Constitutional Jurisprudence and 27
Scholars of Federalism and Judicial Restraint as amici curiae in support of Defendants-Appellants’ defense
of constitutionality of Utah’s marriage laws. Lost 2-1. Cert. denied.

Peruta v. County of San Diego (9th Cir. 2014). Represented Center for Constitutional Jurisprudence,
Doctors for Responsible Gun Ownership, Law Enforcement Alliance of America, and Independence
Institute as amici curiae in support of 2nd Amendment challenge to San Diego policy of issuing concealed
carry permits only upon demonstration of good cause. Won 2-1. State motion to intervene post-judgment
pending.

Shoemaker v. Taylor, 730 F.3d 778 (2013). Represented City of Redondo Beach in defense of child
pornography conviction against First Amendment free speech challenge on federal habeas corpus review.
Won 3-0.

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Wheaton College v. Sebelius (D.C. Cir. 2012). Religious objection to Obamacare contraceptive mandates
by religious university. Lost 3-0 on ripeness grounds.

Coalition to Defend Affirmative Action v. Brown (9th Cir. 2012, pending). Represented Center for
Constitutional Jurisprudence and California Association of Scholars in appeal defending constitutionality
of California’s Proposition banning race-based admissions.

Jackson v. San Francisco, No. 12-17803 (9th Cir., pending). Represented Center for Constitutional
Jurisprudence as amicus curiae in support of gun owner’s 2nd Amendment challenge to San Francisco ban
on certain kinds of ammunition and carrying guns outside the home for self-defense purposes. Lost 3-0,
pending rehearing and rehearing en banc.

Sissel v. Health and Human Services (D.C. Cir. 2015). Represented Center for Constitutional Jurisprudence
as amicus curiae in Origination Clause challenge to Obamacare. Lost. Cert. pending.

Wollschlaeger v. Governor of Florida, No. 12-14009 (11th Cir. 2012, pending). Represented Doctors for
Responsible Gun Ownership and Center for Constitutional Jurisprudence in support of Florida law
prohibiting doctors from asking patients about their gun ownership unless they have a medical reason for
doing so.

Montana Shooting Sports Association v. Holder, No. 10-36094 (CA9 2011). Represented Center for
Constitutional Jurisprudence in support of challenge to federal regulations of firearms constructed and used
solely in Montana and not articles of interstate commerce. Lost 2-1.

In re Rachel L.. (Cal. App., 2008). Represented, together with Erwin Chemerinsky and David Llewellyn,
the Center for Constitutional Jurisprudence as amicus curiae in appeal of California decision prohibiting
home schooling. Won.

Boy Scouts of San Diego v. Barnes-Wallace (9th Cir., pending). Representing The Claremont Institute
Center for Constitutional Jurisprudence as amicus curiae in defending San Diego’s lease of parkland to
Boy Scouts for operation of a summer camp, against challenge that the lease violated the Establishment
Clause because of Boy Scouts’ requirement that members acknowledge their duty to God. Pending.

United States v. Duke Energy Corp. (4th Cir. 2005). Participated as amicus curiae supporting Duke
Energy’s challenge to constitutionality and administrative legality of federal government efforts to
effectively change definition of Clean Air Act’s New Source provisions through enforcement actions aimed
at utility’s maintenance of existing equipment. Won 3-0.

Amodei v. Nevada State Senate (9th Cir. 2004) Represented group of Nevada legislators challenging, on
Due Process and Republican Guaranty Clause grounds, the constitutionality of Nevada Supreme Court
mandamus ordering legislature to consider bill raising taxes by simple majority rather than two-thirds vote
required by Nevada Constitution. Decision of the District Court dismissing for lack of jurisdiction was
reversed, but case was dismissed as moot after legislature achieved a 2/3 vote for tax increase.

Powers v. Harris (10th Cir. 2004). Represented The Claremont Institute Center for Constitutional
Jurisprudence as amicus curiae in challenge to constitutionality of Oklahoma’s casket licensing statutes, as
violating substantive due process rights and Privileges or Immunities Clause. Lost 3-0.



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Rancho Viejo LLC v. Norton (D.C. Cir. 2003). Represented landowner in challenge to the constitutionality
of federal endangered species act. Lost 3-0. Petition for rehearing en banc denied over dissents from then-
Judge John Roberts and Judge David Sentelle. Cert. Denied.

Glassroth v. Moore (11th Cir. 2003). Represented The Claremont Institute Center for Constitutional
Jurisprudence as amicus curiae defending constitutionality of display of Ten Commandments monument
in state courthouse. Lost 3-0.

Craigmiles v. Giles (6th Cir. 2002). Represented The Claremont Institute Center for Constitutional
Jurisprudence as amicus curiae in challenge to constitutionality of Tennessee’s casket licensing statutes, as
violating substantive due process rights and Privileges or Immunities Clause. Won 3-0.

The Lincoln Club of Orange County, et al. v. City of Irvine, California, 292 F.3d 934 (9th Cir. 2002).
Represented The Lincoln Clubs in challenge to constitutionality of municipal ordinance restricting
campaign contributions to independent expenditure committees, on First Amendment speech and
association grounds. Ninth Circuit held that the ordinance was subject to strict scrutiny, reversing lower
court decision and remanding. Won 3-0

Warren v. Commissioner of Internal Revenue. (9th Cir. 2002). Represented Pastor Rick Warren in
challenge to IRS interpretation of parsonage exemption from federal income tax, after Ninth Circuit directed
parties to address whether the parsonage exemption was an unconstitutional establishment of religion. Won
dismissal of case after Congress amended statute to resolve initial interpretation dispute.

Southwest Center for Biological Diversity et al. v. Ken Berg et al., 268 F.3d 810 (9th Cir. 2001).
Represented Pardee Construction Company, Building Industry Legal Defense Foundation, National
Association of Home Builders, California Building Industry Association, and Building Industry
Association of San Diego, in effort by property owner to intervene in environmental litigation challenging
permits for development on their property. Won 3-0.

Butler v. Alabama Judicial Inquiry Commission. (11th Cir. 2001). Participated as amicus curiae
challenging constitutionality of Alabama’s restrictions on campaign speech by persons seeking election as
state judges, in support of Alabama Supreme Court Justice Harold See. Vacated on abstention grounds.

United States v. Emerson (5th Cir. 1999). Participated as amicus curiae in challenge to constitutionality of
federal statute routinely depriving individuals subject to restraining orders in divorce cases of 2nd
Amendment rights. Won ruling that 2nd Amendment conveys a personal, judicially-enforceable right to
keep and bear arms.

Broussard v. Meineke Discount Muffler Shops, Inc., et al. (4th Cir. 1998). Part of team that successfully
represented Appellants' challenge to a $390 million jury verdict on a breach of franchise contract class
action claim. The entire judgment was vacated and remanded for a new trial.

Southern Ute Indian Tribe v. Amoco Production Co. (10th Cir. 1998). Part of team that successfully
petitioned the U.S. Court of Appeals for the Tenth Circuit to review en banc the decision by a 3-judge panel
reversing the district court's grant of summary judgment in favor of defendant. Although the en banc Court
also reversed the district court's decision, the Supreme Court of the United States reinstated the grant of
summary judgment in favor of defendant.

United States District Courts

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Levin v. San Francisco (N.D. Cal.). Amicus brief in support of property owners challenging San Francisco
ordinance assessing massive fees against property owners who sell their rental property. Won in district
court. Pending appeal.

True the Vote v. Internal Revenue Service (D.D.C.). Representing True the Vote in challenge to IRS
targeting of conservative non-profit applicants.

Geiger et al. v. Kitzhaber, No. 6:13-cv-01834-MC (D. Ore. 2014). Represented National Organization for
Marriage, which sought to intervene in litigation challenging constitutionality of Oregon’s marriage law
after state officials named as defendants refused to defend. Motion to intervene denied; Oregon law
invalidated on merits. Appeal pending.

National Organization for Marriage v. United States, Internal Revenue Service (E.D. Va. 2014).
Represented National Organization for Marriage in suit against IRS for illegal disclosure of confidential
tax return information. Won admission of illegal disclosure, discovered identity of IRS employee who
disclosed and recipient, and won $50,000 in damages.

Sissel v. Health and Human Services (D.DC. Cir. 2012). Represented Center for Constitutional
Jurisprudence as amicus curiae in original clause challenge to Obamacare. Lost. Appeal pending.

Grace Church of North County v. City of San Diego, et al. (S.D. Cal. 2007). Representing small church
trying to obtain a conditional use permit to conduct services in a building it leases in a portion of the city
zoned for industrial use.

Long Beach Area Chamber of Commerce v. City of Long Beach (C.D. Cal. 2006) (9th Circuit, 2010).
Represented private organization in First Amendment challenge to city campaign finance restrictions.
Obtained TRO permitting client to participate in upcoming municipal elections, and then prevailed on
motion for summary judgment, with the Court holding that the campaign finance ordinance was
unconstitutionally both facially and as applied. Affirmed on appeal.

Angle, et. al v. Nevada Legislature (D. Nev. 2003) (9th Circuit 2004) (Supreme Court 2004). Represented
a group of state legislatures in challenging action taken by the legislature, under a writ of mandamus from
the Nevada Supreme Court, passing tax increases by less than the 2/3 vote required by the Nevada
Constitution. Obtained emergency TRO. Case was later dismissed as jurisdictionally-barred by Rooker-
Feldman doctrine. That holding was rejected by Ninth Circuit, but case was then dismissed as moot.

United States v. South Florida Water Management Dist. (S.D. Fla. 2003). Represented The Claremont
Institute Center for Constitutional Jurisprudence as amicus curiae in support of motion to disqualify a judge
who had taken extraordinary extra-judicial actions related to a settlement decree that he had issued.

United States v. John Walker Lindh (E.D. Va. 2002). Participated as amicus curiae in support of detention
and prosecution of Lindh as an unlawful enemy combatant, against a claim of “combatant immunity.” Won.

The Lincoln Club of Orange County, et al. v. City of Anaheim, California, et al. (C.D. Cal. 2002).
Represented The Lincoln Clubs in challenge to constitutionality of municipal ordinances restricting
campaign contributions to independent expenditure committees, on First Amendment speech and
association grounds. Won stipulated judgments against Anaheim, Huntington Beach, Orange, and Orange
County ordinances. Won.


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The Lincoln Club of Orange County, et al. v. City of Irvine, California (C.D. Cal. 2002). Represented The
Lincoln Clubs in challenge to constitutionality of municipal ordinance restricting campaign contributions
to independent expenditure committees, on First Amendment speech and association grounds. Initially lost
summary judgment, but won stipulated judgment after Ninth Circuit held that the ordinance was subject to
strict scrutiny, reversing lower court decision and remanding. Won.

Welker v. Cicerone (University of California, Irvine), 174 F.Supp.2d 1055 (C.D. Cal. 2001). Represented
public university student in Free Speech challenge to restrictions on campaign speech in student
government election. Obtained preliminary injunction against enforcement of restrictions and ordering
reinstatement of student to seat on student government council. Won.

Rancho Viejo LLC v. Norton (D.D.C.. 2001). Represented landowner in challenge to the constitutionality
of federal endangered species act. Lost summary judgment, aff’d by D.C. Circuit. Cert. Denied.

General Electric Capital Corporation v. DIRECTV, Inc. and Hughes Electronics Corp., 94 F.Supp.2d 190
(D. Conn. 1999). Together with Kirkland & Ellis, represented DIRECTV and Hughes in a contract dispute
with GE Capital Corporation regarding a consumer lending program. Lost Jury Trial.

Luaces et al. v. DIRECTV, Inc. (S.D. Fla. 1998). Represented DIRECTV in nationwide consumer class
action regarding DIRECTV's programming decisions. Participated in negotiation and drafting of settlement
and of negotiation and drafting of Assurance of Voluntary Compliance to settle parallel investigation by
multi-state group of States Attorneys General. Also represented DIRECTV in defense of several parallel
class actions in New Jersey and in Texas, obtaining dismissals with prejudice.

State Courts

Gleason v. Bowen (Cal. Super. Ct. 2014). Representing referendum proponent in ballot access litigation.

Briscoe v. Huntington Beach (Cal. Super. Ct. 2014). In collaboration with a major national law firm, CCJ
represented a homeowner in Huntington Beach who was fined for putting up political signs in his own yard
more than 50 days before the election. The Huntington Beach ordinance did not apply to other kinds of
signs, and the U.S. Supreme Court has previously held that such content-based restrictions on speech are
unconstitutional. The City amended its ordinance to remove the unconstitutional provision.

City of Montebello v. Vasquez (Cal. S. Ct., 2014 pending). Joined amicus curiae brief arguing that use of
Anti-SLAPP statute by government violates First Amendment and turns the statute’s purpose on its head.

Gleason v. Bowen (Cal. Super. Ct. 2014 pending). Representing Referendum proponent in mandamus
proceeding challenging determinations of invalid petition signatures and seeking to have placed on the
ballot a referendum to repeal AB 1266, California’s transgender bathroom bill.

Gerawan Farming, Inc. v. Agricultural Labor Relations Board, No. F068526 (Cal. App., 5th Dist. 2014
pending). Represented Western Growers Association, California Farm Bureau Federation, Agricultural
Council of California, California Citrus Mutual, California Grape and Tree Fruit League, Growershipper
Association of Central California, Grower-Shipper Association of Santa Barbara and San Luis Obispo
Counties, Nisei Farmers League, and Ventura County Agricultural Association as amici curiae in Support
of Petitioner’s constitutional challenge to California labor board rule requiring mandatory and binding
arbitration with a union that had not been active for twenty years and had been decertified by a vote of the
employer’s employees.

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Power v. Humboldt County, No. A137238 (Cal. App. 1st Dist. 2013, pending). Represented Center for
Constitutional Jurisprudence as amicus curiae in support of plaintiff’s challenge to demand by County that
they give an over-flight easement as a condition on an after-the-fact permit for a porch cover. The demand
amounts to an unconstitutional exaction, and hence a taking, under Nollan and Dolan Supreme Court
decisions.

Meridian Moulding, Inc. v. Labor Commissioner, No. CIVDS1301539 (L.A. Superior Ct., 2014).
Representing Meridian Moulding in constitutional challenge to double bond requirement to appeal Labor
Commissioner’s imposition of penalties after Labor Commissioner found that Meridian failed to pay
required worker’s compensation fees (despite fact that Meridian had previously converted to a employee-
owned business, statutorily exempt from worker’s comp). Won. Court ruled that double bond requirement
was unconstitutional, and Labor Commissioner agreed to settle rather than appeal, paying $5,000 in
attorneys fees to client as well.

Sander v. State Bar of California, 196 Cal. App. 4th 614 (Cal. App. 2011), 58 Cal.4th 300 (Cal. S.Ct. 2013).
Represented Todd Gaziano, Gail Heriot, and Peter Kirsanow, Members of the United States Commission
on Civil Rights in Their Individual Capacities, as amici curiae in Support of Plaintiffs and Respondents
seeking access to state bar database for statistical research purposes. Won 7-0; such data is public provided
individual privacy can be protected; case remanded for consideration of State claims that breach of privacy
would result.

California Redevelopment Association v. Matosantos, No. S194861, 53 Cal.4th 231 (Cal. S.Ct. 2011).
Represented Center for Constitutional Jurisprudence, California Alliance To Protect Private Property
Rights, and Institute for Justice as amici curiae in support of statute terminating local redevelopment
agencies but in opposition to statute allowing for continuation of local redevelopment agencies only upon
transfer of a portion of the agency’s revenues to the State (which violates a voter-approved initiative). Won
7-0 on first issue, 6-1 on second.

Vargas v. City of Salinas, No. H035207 (Cal. App., 6th Dist. 2011). Represented Center for Constitutional
Jurisprudence, Libertarian Law Council, and Reason Foundation as amici curiae in support of Plaintiff’s
challenge to use of the Anti-Slapp statute, designed to protect public participation in governmental affairs,
by government itself to thwart public participation and also in support of petition for review. Lost; petition
for review denied.

County of Orange v. Association of Orange County Deputy Sheriffs, 192 Cal. App. 4th 21 (2011).
Represented Center for Constitutional Jurisprudence as amicus curiae in support of Orange County’s
challenge to the retroactive increase in pension benefits awarded by a prior county board, on the grounds
that it violated state constitutional prohibition on gifts and retroactive increase in pay for work already
performed. Lost; petition for review summarily denied.

Codgill v. Legislature, No. C060795 (Cal. App. 3rd Dist. 2009). Represented Howard Jarvis Taxpayers
Association, Americans for Prosperity, National Federation of Independent Business, numerous state
legislators, and citizen/voters Steve Poizner, Jon Fleischman, John Kobylt, and Ken Chiampou in writ of
mandate proceeding challenging California legislature’s enactment of a tax increase without the 2/3 vote
required by the California Constitution. As a result of the action, the Governor vetoed the tax bill he had
proposed, and the Appellate Court held that the veto mooted the case; petition for review was denied.

In re: Marriage Cases (Cal. S.Ct. 2008). Represented, on behalf of The Claremont Institute Center for
Constitutional Jurisprudence and the Institute for Marriage and Public Policy, group of legal scholars and

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political scientists as amici curiae defending constitutionality of California law defining marriage as
between one man and one woman.

City of Norwood v. Joseph Horney (Ohio S.Ct., pending). Participated as amicus curiae on behalf of The
Claremont Institute Center for Constitutional Jurisprudence in case challenging government’s contention
that economic development qualifies as “public use” subject to eminent domain under state constitution’s
takings clause. Pending.

Horowitz, et al., v. County of Los Angeles (L.A. Super. Ct.,2008). Representing a diverse group of taxpayers
and citizens in Los Angeles County challenging the constitutionality of the County’s decision to remove a
cross, which symbolized the historically accurate influence of religious missionaries on the development
of the Los Angeles region, from the County seal in response to demand letters from a group hostile to
religious symbols in the public square.

Costa v. Superior Court (Cal.App., 3rd Dist. 2005). Represented former California Attorney General, and
Congressman, Dan Lungren in opposition to decision by California Attorney General Bill Lockyer
removing Proposition 77, which would have removed redistricting authority from the legislature, from the
ballot because of minor inconsistencies in the language of the initiative submitted to the Attorney General
for titling and summary, and the language actually circulated to voters for signature and for the ballot.

John Doe, et al. v. Capistrano Unified School District (Orange Cty. Super. Ct. 2005). Successfully
represented high school students in challenge to suspension as violating First Amendment and privacy
rights.

Guinn v. Legislature (Nev. S.Ct. 2003). Represented group of Nevada legislators challenging
constitutionality of Nevada Supreme Court writ of mandamus directing Legislature to adopt tax increases
by simple majority vote rather than the two-third vote required by the Nevada Constitution. Petition for
Rehearing Denied due to mootness after Legislature achieved 2/3 vote for tax increase.

Cottonwood Church v. City of Cypress (C.D. Cal. 2002) Assisted with representation of church challenging
use of eminent domain for economic development as violating RLUIPA, Free Exercise Clause, and Takings
Clause. Won Preliminary Injunction in District Court; case then settled.

Fair Political Practices Commission v. American Civil Rights Coalition (Sacto. Super. Ct. 2002).
Represented anonymous donors in FPPC’s suit attempting to force Ward Connerly to divulge the identity
of donors to his foundation devoted to challenging racial preferences in government hiring and admissions.
Case settled.

Bouldin et al. v. Mississippi Major Economic Impact Authority (Miss. S.Ct. 2000). Represented The Center
for Constitutional Jurisprudence as amicus curiae challenging constitutionality of Mississippi
Redevelopment Agency’s use of eminent domain to take private property for a Nissan auto plant. Won
favorable settlement.

Boy Scouts of America v. Dale (N.J. S.Ct. 1999). Represented The Claremont Institute Center for
Constitutional Jurisprudence as amicus curiae in support of Boy Scouts’ First Amendment right of freedom
of expressive association, against contention that Boy Scouts’ membership policies violated New Jersey
public accommodations law prohibition on sexual orientation discrimination. Lost in N.J. Supreme Court,
won in U.S. Supreme Court.


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State Board of Equalization v. Hughes (Sacto. Super. Ct. 2000). Represented Globalstar, L.P. as amicus
curiae challenging Los Angeles County attempt to impose property taxes on satellites in global orbit under
theory that they were “situated” in Los Angeles County because the owners of the satellites had offices in
Los Angeles County. Won.

State of California v. Alpharma USPD (S.F. Super. Ct. 1999). Obtained summary judgment for Alpharma
in litigation addressing whether Proposition 65, a voter-approved initiative, requires prescription drug
manufacturers to add warnings to its prescription drug labels that are not approved by the Federal Food &
Drug Administration.

State of California v. SaBrina Reese. (L.A. Super. Ct. 1998). Represented African-American hairbraider
who had been criminally cited for operating her hairbraiding salon without a cosmetology license. Obtained
dismissal of all charges.

State of California v. Modkins (L.A. Super. Ct., App. Div., 1998). Successfully represented Redondo Beach
on appeal by criminal defendant challenging his conviction for impersonating a police officer.

State of California v. Gould (L.A. Super. 1998). Successfully represented the City of Hermosa Beach in
opposing a challenge to the constitutionality of the city's animal noise ordinance.
Other Representations

Matter of Filipino Baptist Fellowship Church. Successfully represented small church opposing use of
eminent domain condemnation that had been initiated by the City of Long Beach, California, to make way
for private condominium development.

Matter of Aliso Viejo Community Center. Representing Gabrielson Family Foundation in effort to construct
and donate to the city a community center for joint public-private use, including religious use, while
complying with the requirements of the Establishment Clause.

Matter of Stephanie Douvas. Represented public school teacher whose contract was terminated after she
was reprimanded for using a stick-figure religious fish symbol in our private signature block on outgoing
e-mail. Negotiated a favorable settlement in which the reprimand was rescinded and teacher was re-hired.

Matter of Ron Plechaty. Represented private citizen in Free Speech challenge to city sign ordinance,
selectively enforced against him due to his criticism of government officials. City rescinded its
unconstitutional action.

Matter of Parental Notice Initiative. Represented initiative sponsors in assessing constitutionality of
proposed voter initiative requiring parental notice (with adequate judicial bypass) prior to performing
abortion on a minor.

Matter of Huntington Beach Mayor. Represented incoming Mayor in decision to re-instate invocation at
the outset of city council meetings.

Matter of Stanford Professor. Represented Stanford University Professor in Free Speech matter.

Matter of Eric Weigand Veterinary Clinic. Represented veterinarian challenging constitutionality of City’s
use of eminent domain for economic development purposes in non-blighted area. Case settled.


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                                                     Exhibit 1 to Declaration of John C. Eastman
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Matter of Claremont McKenna College Minority Fellowship Program. Successfully represented group of
college professors challenging a faculty fellowship program that was limited to minority racial groups.

Matter of South Orange County Community College District (2002). Represented community college in
drafting a campus speech policy that would be constitutional.

Florida Select Committee on Presidential Election of 2000. Retained by the Florida Legislature to help
draft legislation designating electors to the Electoral College in the 2000 contested presidential election.



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                                                      Exhibit 1 to Declaration of John C. Eastman
